           Case 2:02-cr-00287-JAM Document 188 Filed 03/13/06 Page 1 of 1


1    MICHAEL B. BIGELOW
     Attorney at Law - SBN 65211
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 443-0217

4    Attorney for Defendant
     Michael Staggs
5
                           UNITED STATES DISTRICT COURT
6
                          EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA          )
                                       )         No. Cr.S- 02-287 FCD
9                      Plaintiff       )
                                       )
10               vs.                   )
                                       )         ORDER
11                                     )         Date: April 24, 2006
     MICHAEL STAGGS                    )         Time: 9:30 AM
                                       )         Court: FCD
12                                     )
                       Defendant       )
13                                     )
14

15                                     ORDER
16        Upon stipulation of both parties as stated in the
17   Memorandum filed on March 10, 2006, and for good cause shown,
18   sentencing in this case is continued to April 24, 2006 at
19   9:30 a.m.
20
          IT IS SO ORDERED
21

22
          Dated: March 13, 2006                  /s/ Frank C. Damrell Jr.
23                                               Hon. Frank C. Damrell, Jr.
                                                 District Court Judge
24

25




                                           -1-
